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AO 245B       (Rev. 12/11) Judgment in a Criminal Petty Case
               Sheet 1
                                                                                                                                    Oct 19 2020

                                          UNITED STATES DISTRICT COURT                                                                  s/ judep


                                                SOUTHERN DISTRICT OF CALIFORNIA
                       UNITED STATES OF AMERICA                                 JUDGMENT IN A
                                           v.                                   CRIMINAL CASE
                                                                                (For Offenses Committed On or After November 1, 1987)
                     Juan Carlos Jimenez-Jimenez (1)
                                                                                Case Number: 20CR2649-BGS
                                                                                Francisco J Sanchez , Jr , CJA
                                                                                Defendant’s Attorney
REGISTRATION NO. 94863298


THE DEFENDANT:
    pleaded guilty to count(s)
X      was found guilty on count(s) 1 of the Information
       after a plea of not guilty.
       Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                         Count
Title & Section                                                           Nature of Offense                                             Number(s)
8:1325                                                Unlawful Attempted Entry by an Alien (Misdemeanor)                                1




           The defendant is sentenced as provided in pages 2 through                  2         of this judgment.

    The defendant has been found not guilty on count(s)
    Count(s)                                                                  is          are     dismissed on the motion of the United States.
    Assessment: $10- WAIVED




    Fine waived                                        Forfeiture pursuant to order filed                                       , included herein.
          IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence,
    or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
    defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.
                                                                                   October 06, 2020
                                                                                   Date of Imposition of Sentence




                                                                                   HON. BERNARD G. SKOMAL
                                                                                   UNITED STATES MAGISTRATE JUDGE

                                                                                                                                             20CR2649-BGS
              Case 3:20-cr-02649-BGS Document 36 Filed 10/19/20 PageID.68 Page 2 of 2
AO 245B      (Rev. 12/11) Judgment in Criminal Petty Case
             Sheet 2 — Imprisonment

                                                                                                          Judgment — Page   2   of     2
DEFENDANT: Juan Carlos Jimenez-Jimenez
CASE NUMBER: 20CR2649-BGS
                                                                    IMPRISONMENT
           The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for
           a term of :
           Time Served.


          Sentence imposed pursuant to Title 8 USC Section 1326(b).
          The court makes the following recommendations to the Bureau of Prisons:




          The defendant is remanded to the custody of the United States Marshal.

          The defendant shall surrender to the United States Marshal for this district:
                at                                           a.m.        p.m.    on                                         .
                as notified by the United States Marshal.

          The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:


                as notified by the United States Marshal.
                as notified by the Probation or Pretrial Services Office.


                                                                         RETURN

I have executed this judgment as follows:

          Defendant delivered on                                                            to

at                                                          , with a certified copy of this judgment.


                                                                                                        UNITED STATES MARSHAL

                                                                                By
                                                                                                   DEPUTY UNITED STATES MARSHAL




                                                                                                                                20CR2649-BGS
